                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA

UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                              )
        v.                                    )         CASE NO. 1:15-CR-8
                                              )
JEREMY LAWS                                   )



                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on May 27, 2015. At

the hearing, defendant entered a plea of guilty to the lesser included offense in Count One of the

Indictment, conspiracy to manufacture and distribute five grams or more of methamphetamine

(actual) and fifty grams or more of a mixture and substance containing methamphetamine, a

Schedule II controlled substance, in violation of Title 21, U.S.C. §§ 846 and 841(a)(1) and

841(b)(1)(B), in exchange for the undertakings made by the government in the written plea

agreement. On the basis of the record made at the hearing, I find that the defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a

sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the charges

set forth in the lesser included offense in Count One of the Indictment, and that the written plea

agreement be accepted at the time of sentencing. I further recommend that defendant remain in

                                                  1



Case 1:15-cr-00008-TRM-CHS           Document 79        Filed 05/27/15      Page 1 of 2       PageID
                                           #: 161
custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance

of the plea agreement, and imposition of sentence are specifically reserved for the district judge.

       The defendant=s sentencing date is scheduled for Monday, September 14, 2015, at 9:00

am.



                                               SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. '636(b).




                                                  2



Case 1:15-cr-00008-TRM-CHS            Document 79        Filed 05/27/15      Page 2 of 2      PageID
                                            #: 162
